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EXHIBIT 7
Case 1:21-cv-03750-WMR-CCB Document 5-8 Filed 09/17/21 Page 2 of 31
8/30/2021 Register of Actions - 2015CV260050

EJ19

Case Summary

Case No. 2015CV260050

JANET HILL VS. BAYVIEW LOAN § Location
SERVICING § EJ19
§ Judicial Officer
§ MARKLE, TODD
§ Filed on
§ 04/24/2015

 

Case Information

 

Case Type: OTHER CIVIL CAUSE OF
ACTION

Case Status: 06/22/2015 Closed

Statistical Closures
06/22/2015 Dismissed Without Prejudice

 

Party Information

 

Lead Attorneys
PLAINTIFF HILL, JANET Pro Se

DEFENDANT BAYVIEW LOAN SERVICING MENDEL, JARROD
Retained

 

Events and Orders of the Court

 

06/22/2015 DISMISSED WITHOUT PREJUDICE (Judicial Officer: MARKLE, TODD)
06/22/2015

DISMISSAL WITHOUT PREJUDICE
Party: PLAINTIFF HILL, JANET

https://publicrecordsaccess. fultoncountyga.gov/app/RegisterOfActions##/E27 BD66D2F E085FA738B9B031D13E96443F0051CB4F310DE8F8C5D8C1... 1/2
Case 1:21-cv-03750-WMR-CCB Document 5-8 Filed 09/17/21

8/30/2021

06/12/2015

06/11/2015

06/11/2015

06/11/2015

05/06/2015

04/24/2015

04/24/2015

04/24/2015

Register of Actions - 2015CV260050

ANSWER
Party: DEFENDANT BAYVIEW LOAN SERVICING

MOTION TO DISMISS
Party: DEFENDANT BAYVIEW LOAN SERVICING

ANSWER
Party: DEFENDANT BAYVIEW LOAN SERVICING

MOTION
Party: DEFENDANT BAYVIEW LOAN SERVICING

SHERIFF'S ENTRY OF SERVICE

Request for Service
BAYVIEW LOAN SERVICING
Issued

CASE INITIATION FORM

PLAINTIFF'S ORIGINAL PETITION

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Financial Information

 

https://publicrecordsaccess.fultoncountyga.gov/app/RegisterOfActions/#/E27 BD66D2FE085FA738B9B031 D13E96443F0051CB4F310DE8F8C5DS9C1...

PLAINTIFF — HILL, JANET
Total Financial Assessment

Total Payments and Credits
Balance Due as of 8/30/2021

703.00
703.00
0.00

2/2
Case 1:21-cv-03750-WMR-CCB Document 5-8 Filed 09/17/21 Page 4 of 31

IN THE SUPERIOR COURT OF FULTON q ENED IN OFFICE

 

 

 

 

 

STATE OF GEORGIA
APR 4 2015 ©
nae
. Mie ON cou
Janet Hill, CIVIL ACTION==
Plaintiff FILE NO: Leys ey LY oe He
v.
BAYVIEW LOAN SERVICING , TURY DE aD
Defendant

 

VERIFIED COMPLAINT

COMES NOW Plaintiff Janet Hill, and files this Verified Complaint against |

Défendant BAYVIEW LOAN SERVICING, and shows unto this Court as follows: .

PARTIES, JURISDICTION AND VENUE
1. Plaintiff is an individual, a natural person, over the age of eighteen years
and resident of FULTON County, Georgia,
2. Defendant is a Limited Liability Company organized under the laws of
. the State of Delaware, and they will be served through their Registered Agent :

on file at Georgia Secretary of State’s Office: Registered Agent: Corporation

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Service Company, located at 40 Technology Parkway; South, Norcross, GA
30092, FULTON County, Georgia. The subject real property of this action ~
(the “ome” or “Property”), located at'543 Auburn Avenue NE, Atlanta, GA
30312.

3. Jurisdiction-and Venue is proper in this Court. '

4. Itis the understanding of the Plaintiff that FULTON superior court has a
lesser standard than Federal Court in determining if claims are stated where
Federal Courts identify claims of merit and therefore Plaintiff is entitl ed to the

: general pleading standards as pronounced in Conley v. Gibson 355 US, 41, 45-
46 (1957) and also Dioguardi v. Durning, 139 F 2d 774 (CA2 1944), ? -
5. Plaintiff relies on Conley v Gibson and also Dioguardi v Durning as

related to the general pleadings standard.

RIGHT TO AMEND THE ACTION

 

1 SUBJECT MATTER JURISDICTION refers to the competency of the court to hear and determine a
particular category of cases, Federal district courts have "limited" jurisdiction in that they have only such
jurisdiction as is explicitly conferred by federal statutes. 28 U.S.C. §1330 [see also 40 US.C.S. §255] et
seq. See LIMITED [SPECIAL] JURISDICTION. Many state trial courts have "general" jurisdiction to

_ hear almost all matters: The parties to a lawsuit may not waive a requirement of subject matter

jurisdiction.

2 Yn 1957, the Supreme Court ruled that, under the Federal Rules of Civil Procedure, “a complaint should -,
not be dismissed for failure to state a claim unless it appears beyond doubt that the Plaintiff can prove NO
set of facts in support of his claim which would entitle him to relief.” Conley v. Gibson 355 US. 41, 45-
46 (1957) and also Dioguardi v. Durning, 139 F 2d 774 (CA2 1944)

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6. The Plaintiff expressly reserves the right to supplement/addendum,
amend or withdraw this Complaint at atiy time without prejudice to correct
service, join other Defendants, and/or Plaintiffs and to add more issues of

FACT, and/or add addendums/exhibits and/or plead additional damages to the

Complaint.

FACTS

 

‘7, | On October 6, 2005, Plaintiff allegedly made a Promissory Note (the
"Note") for principal amount of $464,000.00, to AMERICA’S WHOLESALE
‘LENDER (“A WL”) as payee as evidence for a residential purchase money
mortgage loan (the “Loan”). |

.8 Concurrently therewith, and in connection with the Note, Mortgage
Electronic Registration System, Inc. (“MERS”), conveyed a fraudulent security

interest on Plaintiff's Home. 34 See also EXHIBIT “1” 1 “MERS massive

criminal conspiracy”

 

3 National Consensus of MIERS Fraud (Federal & State Actions Filed Against MERS) confirms the
iNegality of MERS claiming the right to be an Original Mortgagee, Nominée, Beneficiary or Holder in
Due Course without first legally proving they are the owner of the Promissory Note, The Court further .
identifies the misrepresentation and fraud potential associated with the MERS System. coo

http://mortgageendgame.com/mers_fraud.php
4 43 million homes have been illegally stolen by the MERS MORTGAGE FRAUD. .
htto://www.nakalertpress.com/20 1§/02/23/the-oumber-one-reason-why-americans-will-not-fight-back-

against-the-new-world-order-
9/2utm source=feedburner&utm_ miedium=email&utm campainn=Feed%3 A+ pakalert+728PaktAlerttP

ress%29

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By law, banks who loan money to home buyers are required to track all transactions
involving an interest in the home through the County Recorder. This process ensures proper
. accounting and allows everyone to have confidence in the property ownership records of the
country. Because of the freedom to act without the oversight of the publicly elected County
Recorder; MERS (Mortgage Electronic Registration System) allowed the banks to
‘separate the note from the property itself. Instead of being registered with the public
record they were now recorded by the banks themselves. They were then able to turn the
“notes” info financial instruments traded and leveraged on the stock market beyond the
ability of the average homeowner to envision, By derivatives and insurance and
securitization a $100,000.00 home mortgage could be worth well over a million dollars,

9, AWL, or its successor in interest, then attempted to securitize the Loan in
a real estate mortgage investment conduit trust, or REMIC trust [The Bank of
New York Mellon FKA The Bank of New York, as trustee for the
certificate holders of CWALT, Inc, Alternative Loan Trust 2005-58,
‘Mortgage Pass-Through Certificates, Series 2005-58}, by conveying its
ownership interest to a third party owner of the Loan (“True Creditor”). °
See EXHIBIT “1” 7 “unsecured debt”

10,On a date uncertain, Defendant began: servicing the Loan pursuant to a
certain Pooling and Servicing Agreement (the “PSA”) ° with the True Creditor.

See EXHIBIT “1” {7 “rarely transferred in a timely manner’? ’ .

 

5 There are two central problems to the claims of securitization in practice: . oo.
(1) the loans were switched at closing with the borrowers meaning that the documented loan signed by
borrower under false pretenses referred to a transaction that never existed and the closing proceeded “
based upon.a prior Assignment and Assumption agreement calling for violation of various State and
Feileral law and was therefore void as were the acts performed pursuant to the illegal agreement and
(2} that the accounts were switched at closing with the lenders (investors) meaning that the money of
investors was not placed in the REMIC trust that was shown to them and that the loans were never”
delivered or transferred to the Trust. The result was that investor money in many cases came directly to

. the closing table unknown to both the investors and the borrowers.

2 .

6 Agreeing with the allegations in the lawsuits of investors, insurers, guarantors, and other third party
sources of funding, Plaintiff concludes that both the Pooling and Servicing Agreement and the note and

"Page 4

 
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1]. Simultaneously, Defendant presented itself to Plaintiff as thé owner of

the Loan, the Noteholder, and began directing to Plaintiff, inter alia, monthly

 

mortgage statements (“Monthly Statements”), and notices of default (“Notices
of Default). 7 See EXEUBIT “1” 96 “servicers squeeze fees”

a... was J2, On-or about April 10, 201 1, Defendant and BANK OF NEW YORE
MELLON, along with other financial snstitutions, was served a cease and desist
order by numerous federal regulators, including the Board of Governors of the
Federal Reserve System, Office of the ‘Comptroller of the Currency, Office of

Thrift Supervision, and the Federal Deposit Insurance Corporation. 8

http://www.justice.zov/crt/about/hce/whatnew.php

 

mortgage are unenforceable documents because the main premise of each was ignored as were the central
terms. Hence neither the investors nor the borrowers are subject to provisions, terms and restrictions

_ contained in the Pooling and Servicing Agreement, promissory note or mortgage each of which is a
nullity, The conduct of the intermediary parties created by the investment banks corroborates both the
substance of open conclusions and the intent to defraud —— this fully explaining the need for forged,
fabricated, robo-signed documents that were neither authorized nor true,

7 Virtually all 62 million securitized'notes define the *“Noteholder” as “anyone who takes this Note by
transfer and who is entitled to receive payment under this Note...” Very few of the holders of
securitized mortgages can establish that they both hold (have physical possession of) the note AND are
entitled to receive payments on the notes.-For whatever reason, if the Defendant has possession of the
original note, it is usually endorsed payable to the order of some other (often bankrupt) entity.

http://butlerlibertylaw.com/foreclosure-fraud/

8 In the CONSENT ORDERS and settlements most of the prior foreclosures were wrongful and it
. would be wrongful to proceed with any-further foreclosures without correcting or curing the problems

caused by wrongful foreclosure on unenforceable notes and mortgages that are NOT owned by the
originator of the alleged loan or any successor thereto, The further problem for them is that none of

them were ever a creditor in the loan transaction. .
There can belittle doubt now that the principal intermediary was the invéstment bank that received
deposits from investors under false pretenses. There is no indication that the deposits from investors
were ever credited to any trust or special purpose vehicle, Therefore there can be no doubt that the alleged
" . + dust could have ever entered into a transaction in which it paid for the ownership-of a debt, note or:
mortgage. It's obvious that they are owed nothing from borrowers through that false paper chain

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13. On April 13, 2011, BANK OF NEW YORK MELLON and Defendant,
along with mamererte other latge financial instar, entered into a eousent
decree (Consent Decree”) to reform their lending, servicing and foreclosure
practices and pay settlements for improper practices in foreclosures instituted in
-2009-and-2010.---~ a eee

14, Throughout this time period, Defendant engaged in the so-called practice
of “dual track foreclosure”, where foreclosure is pursued while
simultaneously negotiating with the borrower for the purpose of creating a false
sense of security to the borrower and inducing the borrower to delay or
postpone preparing a proper foreclosure defense.

s

15,This practice of “dual track foreclosure” was in strict violation of the

Consent Decree. ?

 

and that there obviously could be no default with respect to the alleged trust or any of its
predecessors or successors. Therefore the mortgage bonds supposedly issued by the trust were empty
with respect to any mortgages that supposedly backed the bonds.

9 Dual tracking occurs when a mortgage servicer continues to foreclose on a homeowner's home while
simultaneously considering the homeowner’s application for a loan modification, Inthe past, dual
tracking was common, However, rules issued by the.Consumer Financial Protection Bureau,(CFPB) as .
well as various state laws and the National Mortgage Settlement (NMS) offer protection to homeowners
in this situation. The CFPB rules, which became effective January 10, 2014, strictly limit the ability of
mortgage servicers to foreclose on a borrower while also negotiating a loan modification. Some States
have already enacted similar restrictions and the NMS has limits as well, although it only covers certain

lenders.

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"16. On or about April 1, 2015, Defendant sent to Plaintiff a notice of
nonjudicial foreclosure sale (“Notice of F oreclosure”) with the sale under
power set to occur on the First T uesday in May 2015. |

17. Defendant invited modification application by Plaintiff.

.. - 18,Plaintiféproperly submitted modification applications pursuant to. -.
Defendant's own internal procedures on xultiple occasions.

19. Defendant engaged in “dual track foreclosure” by failing to process, or
engaging in delay tactics in processing, Plaintitl s modification application.

20. Defendant summarily and arbitrarily denied all of Plaintiff's
modification applications. See EXHIBIT “1” 6 “difficult to modify”

21. On or about January 27, 2015, Plaintiff sent to Defendant a request for
disclosure, rescission, and validation of debt under the federal Truth In Lending
Act (“TILA”) and a "qualified written request" under the federal Real Estate
Settlement Procedures Act (RESPA”) (collectively, the “QWR”).

22.To date, Defendant has not responded in compliance to the QWR.

23, To date, Defendant has failed to comply with its legal obligations under
TILA and RESPA in resporiding to the QWR. ©

24. Throughout the course of servicing the Loan and scheduling the

foreclosure sale date, Defendant applied charges and requested from Plaintiff

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- inappropriate servicing fees and charges that never actually accrued (“False

Servicer Fees”). !° See EXHIBIT “1” 6 “servicers squeeze fees”

It is very difficult to make a payment (and make the exact payment) when the amount keeps
changing. When a payment is delayed in being matched up to an account, more fees and
interest are always accruing. If the amount needed to reinstate your loan is short; the funds
will be rejected and sent back to the homeowner.

"95°" ~~ Defendant continies to hold itself out as the holder of the ‘note (see
{ 26 below) and.the security deed while claiming to be the servicer of the Loan.
11 Defendant cannot show they are a real party of interest to have standing to

foreclose or enforce the negotiable instrument. ”

44

10 Your loan gets transferred or sold from the lender or some sort of “trustee” or a previous servicer. In
addition, somehow there’s also some other ‘attorney in fact’ company or trustee involved. The actual
paperwork they would provide to the court if you were to sue them would say something like -
“.chomeowner> executed a Note and a Deed of Trust for the benefit of <original lender>, The Note and
_ Deed were assigned to <some company you’ ye never heard of as Trustee. <Current servicer> is the
current servicer and atfomey in fact for <Trustee>.” There’s an old magic trick where someone puts a ball
under one of three cups and then moves the cups around. This is the iégal equivalent of that. The goal is
to keep you from knowing who the hell to sue. It’s also to set everything up where none of the
companies has to take responsibility. It’s also to’keep you from getting away from them. Once your loan
is obtained by the servicer, you only have three ways to get away from them: just plain let them foreclose
on your house, refinance (and pay all the $5,000 or $10,000 refinancing fees), or sue them. There’s no
other way out. While you “belong” to them during their servicing, they can charge you whatever fees they

feel like and you’re in no position fo argue.

 

1] “To show standing, then, in a foreclosure action, the defendant must show that it is the holder of the
note and the mortgage at the time the complaint was filed. The foreclosure defendant must also show, at
the time the foreclosure action is filed, that the holder of the note and mortgage is harmed, usually by not
having received payments on the note.” UNITED STATES DISTRICT COURT SOUTHERN DISTRICT
OF OHIO WESTERN DIVISION AT DAYTON IN RE FORECLOSURE CASES CASE NO.
3:07CV043 O7CV049 07CVO8S 07CV138 07CV237 07CV240 07CV246 07CV248 O7CV257
07CV286, 07CV304 07CV312 07CV317 07CV343 07CV353 07CV360 07CV386 07CV389
07CV390 07CV433 JUDGE THOMAS M. ROSE (November 154, 2007)

12 The Defendant must show they are a real party of interest to have standing to foreclose or enforce the

negotiable instrument. (U. S, Bank, N.A. v. Collymore, 68 AD3d 752, 890 NYS2d 578 [2d Dept 2009}; .
First Trust Natl, Assn. v. Meisels, 234 AD2d 414, 651 NYS2d 12] [2d Dept 1996].

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26. FANNIE MAE is at all times the owner of the Plaintiffs mortgage
note, whether the note is in Fannie Mae’s portfolio or whether owned as trustee,
for example, as trustee for an MBS trust.-In addition, Fannie Mae af all times

has possession of and is the HOLDER OF THE MORTGAGE NOTE, except in

wun» the limited cireumstances..Fannie Mae may have direct possession of the’note

or a custodian may have custody of the note, but the Defendant does not have —
the note. If Fannie Mae possesses the note through a document custodian, the
document custodian has custody of the note for Fannie Mae’s exclusive use and

- benefit, not for the benefit of the Defendant.

COUNT I - ILLEGAL COVERSION

27, Defendant’s conduct is an. attempt to illegally convert the subject
property to their own property, if they are permitted to pursue claims that they:
have failed to verify, based upon the Original Promissory Note, they will have
defrauded Plaintiff with non-judicial foreclosure without proof of the true —

Promissory Notes existence. 33 !4

 

13 When the Bank is asked to produce the ORIGINAL CONTRACT NOTE/PROMISSORY .
NOTE/LOAN AGREEMENT they have difficulty in so doing. Why? Well, 99% of the time the debt has
been bundled up and sold on and on and on in the sub-prime and descending levels of banking _
debauchery. No one really knows where the notes are. In many foreclosure instances the foreclosure
documents are ROBO-SIGNED by clerks and people who have no idea what they are signing and HAVE
NOT VERIFIED THE STATE OF THE,CONTRACT. In addition once the primary lender (the only one
who can enforce it and is party to the original contract by the way!) has written off the loan and passed it
to the collection agency or secondary party he has “received his pound of flesh” and the loan amount
should be written off as either the government bailout covers the Joss or the tax breaks cover the loss as a

“write off,” :

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28. Defendant have proceeded.scheduling a non-judicial foreclosure
scheduled on May 5, 2015 without obtaining the Original Promissory Note,
verifying the existence of said Note and without verifying the Lender has a

right to foreclose. *

29: ~~ -BAY-VIEW-LOAN-SERVICIN G lacks'standing and does not own

the mortgage loan. ° They cannot provide “PROOF OF CLAIM” ”7

 

4 Without possession of the Original Note, there is no legal/lawful basis for a party or its agent to
substantiate the claim of a perfected security in interest in the subject property. Ref. Marix v, Dean, GA

Court of App No. A07A1095.

‘5 A fast-growing body of case law is arising out of the mortgage crisis, It holds that mortgagors have
standing to assert claims in court to ensure that'they only pay the right parties, See, e.g., Naranjo v.
SBMC Mortgage (S.D. Cal. July 24, 2012) 2012 WL 3030370 (borrower alleging her loan was not
validly assigned to trust may seek restitution of sums paid to defendants and declaration that defendants
may not enforce note and trust deed); Javaheri, supra; Ohlendorf, supra; Kemp v. Countrywide Home -
Loans, Inc, (Bk. D. N.J. 2010) 440 B.R. 624, 629-630, 634) (bank bought note and mortgage as trustee
under pooling and servicing agreement but never possessed the note; neither bank nor its servicer
allowed to enforce the note); Deutsche Bank National Trust Co, v. Ramotar (N.Y. Sup. 2011) 2011 WL
6604] (allegations of robo-signing and other concerns about bank’s standing were sufficient to raise
triable issues of fact precluding summary judgment in favor of bank suing to foreclose on Ramotar
home); Bayview Loan Servicing, LLC y. Nelson (ill. Ct. App. 2008) 382 IiLApp.3d 1184, 1188
(summary judgment in favor of foreclosing entity where there was no evidence it ever obtained any
legal interest in the subject,property); U.S, Bank National Assn. ’v, Ibanez (Sup.Ct. Mass. 2011) 458
Mass. 637, 649-650 (“Ibanez”) (banks which submitted self-contradictory securitization decuments
undermining their claims to have received assignments of mortgages could not foreclose).

16 «A party lacks standing to invoke the jurisdiction of a court unless he has, in an individual ora
representative capacity, some real interest in the subject matter of an action.” Wells Fargo Bank, v. Byrd,
178 Ohio App.3d 285, 2008-Ohio-4603, 897 N-E.2d 722 (2008). It went on to hold, "If plaintiff has
offered no-evidence that it owned the note and mortgage when the complaint-was filed, it would not be
entitled to judgment as a matter of law.” Wells Fargo, Litton Loan v. Farmer, 867 N.Y.8.2d 21 (2008).
“Wells Fargo does not own the mortgage loan... Theréfore, the... matter is dismissed with
prejudice.” ‘

17 {fin fact the Defendant has the rightful possession of the loan, and have not sold or assigned the loan,
then the Defendant will have no problem producing the original note and end this controversy once and
for all, thus saving valuable time for all parties. If the Defendant cannot produce the proof of claim (and
perfected security interest) as provided under Fed.R.Bankr.P 3001 (d), then they are not a real party of

interest..

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30. Purther, withiout:finding the true party who retains the Note, and
the holder in due course, Defendant have failed to prove ‘status’ as it |
relates to the owner of the Promissory Note and the ‘HOLDER’ of the
Note; (a) To prove status of holder of the instrument cucc §3-4189(d); or (b)
.—- -To prove-status ofnon-holder in possession of the instrument who has the rights.
of a holder (UCC 53-301) or (c) To prove status of being entitled to enforce
the instrument as a person not in possession for the instrument pursuant to
(UCC §3-309) or (UCC §3-4189(d)). "8
31.  BAYVIEW LOAN SERVICING is not the Plaintiff's creditor or
the Authorized Servicer. ” Also see EXHIBIT “1” 99 “unsecured debt”
BAYVIEW LOAN SERVICING is NOT the creditor; they cannot show proof
of loss, proof of payment or any financial transaction that would entitle them to

enforce an invalid note or foreclose on an invalid, unperfected mortgage lien.

 

18 The Georgia Commercial Code 11-1-201(20) in part states; “Holder with respect to a document of tifle
fie, Warranty Deed and Note] means the person in possession...” Plaintiff holds the Warranty Deed and
Defendant/Respondent has not provided production of the Note; therefore, there is no valid claim for
“Holder in Due Course” GCC 1 1-3-302 and the party claiming CREDITOR STAUS comes with
UNCLEAN HANDS. See Matrix v. Dean, Georgia Appellate Court. The Note itself in part states:
«,.apyone who takes this Note by transfer and who is entitled to receive payments under this Note is
called the Note Holder. .So where is the Note? :

9 To prove standing, the defendant must usually show, through admissible evidence, that it holds the note
and mortgage or is acting as the note holder’s authorized representative. Several recent appellate -
decisions have dismissed foreclosures, reversed summary judgments, and even imposed sanctions against
lenders and their counsel for failing to prove standing.

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32s Defendant threatens to or is procuring an act in violation of the rights
of the Plaintiff respecting the subject property and the Plaintiff's rights. In fact,
the Defendant has stated that Plaintiff, is “NOT” a customer to the CFPB,

on or about January 23, 2015,

 

samen een Se Defendant-is-NOT now the holder.of any-instrument, note, and
mortgage or otherwise, that would give them the authority to engage in or .

continue the illegally scheduled sale. ”°

34, There is no adequate remedy at law or compensation would not be
sufficient,
35. If the scheduled sale is allowed to happen, this will cause Plaintiff

ereat and irreparable injury in that real property is unique, and Defendant have

 

20 (MDC-NYSE) Denver Headquarters of Organized Crime. Dlegal Mortgage Backed Securities
$100 Trillion, Bank Bailouts, Derivatives $5,000 Trillion and the theft of 12 million American's
Homes through illegal foreclosures. . ve _ .

The evidence of criminal violations in foreclosure cases is overwhelming. The only one who seems to
being his job is the Kentucky Attorney General. The evidence, including records from federal and state
courts and local Clerks’ offices around the country, shows widespread forgery, perjury, Obstruction of
Justice and illegal foreclosures on the homes of over 12.5 million American’s. ;
Servicers perform routine mortgage maintenance tasks, including filing foreclosures, on behalf of
mortgage owners, groups of investors who bought mortgage-backed securities, MERS Corp, also known
as Mortgage Electronic Registration Systems Inc., also known as MERS, runs a vast computerized ‘
registry of mortgages, Little known before the mortgage crisis hit, MERS, which stands for Mortgage
Electronic Registration Systems, has been at the center of complaints about false or erroneous mortgage
documents. MERS was created in 1993 by Larry Mizel to cover his back on Illegal Mortgage Frauds

dating back to 1977. 8g i
http://www.veteranstoday.com/2014/06/1 5/worldwide-financial-criminal-network-revealed-part]/

"Page 12,

 
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acquired the Security Deed under questionable lending practices and

predatory acts. 7! “

36. The Plaintiff has suffered, will continue to suffer irreparable harm if

the sale is allowed to happen that she will be able to claim RELIEF on. ”

 

See EXHIBIT “1” 42 “theft of one’s house”
37. Iti likely that thie Plaintiff will prevail on the merits of this

Complaint, once the foreclosure sale is stayed.

38. Thé Defendant will not suffer harm, loss or injury.
39, The Plaintiff is entitled to the adequate remedy and relief demanded at .

this tirne to prevent irreparable damage and harm to Plaintiff.

 

21. “Tg often trouble began as soon as 4 Joan transferred to Ocwen Loan,” said CFPB Director Cordray.
The complaint, filed in federal district court in D.C., alleges that Ocwen charged borrowers more than
stipulated in the mortgage contract; forced homeowners to buy unnecessary insurance policies, charged
borrowers unauthorized fees; lied in response to borrower cormplaints about excessive and unauthorized
fees; lied about loan modification services when borrowers requested them; misplaced documents and

- ignored Joan modification applications, causing homeowners to slip into foreclosure; illegally denied
eligible borrowers a Joan modification, then lied about the reasons why-—the list goes on.

Thes? violations are exactly what Ocwen did to homeowners. As a result, homeowners who found
themselves in trouble could not get an effective shot at saving their home, Were improperly shuffled
through the foreclosure process with false documents, and were stolen from up and down the line.
‘Ocwen’s conduct affected an estimated 185,000 borrowers who faced foreclosure from 2009 to 2012, as

well as millions more still hanging on in their
homes. htip://www.newrepublic.com/article/ 11601 0/cewen-mortgave-fraud-settlement-servicer-fined-

homeowner-abuse

 

o

22 A claim is plausible where the Plaintiff alleges factual content that “allows the Court to draw the
reasonable inference that the Defendant is liable for the misconduct and fraud alleged.” Id. The

’ plausibility standard requires that the Plaintiff allege sufficient facts “to raise a reasonable expectation
that discovery will reveal evidence” that will support the Plaintiff's claim against the Defendant. Bell

Atlantic Corp. v. Twombly, 550 U.S, 544, 556 (2007)

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40. Pecuniary compensation would not afford adequate relief, it would be
extremely difficult to ascertain the amount of compensation which would afford

. adequate relief.

—— -- . GOUNTH--ATTEMPEED-WRONGFUL FORECLOSURE I (FORT)
Al. Plaintiff incorporates all preceding paragraphs herein.
| 42, The attempt to securitize the Loan was never perfected, and -

consequently, neither the beneficial interest in or right to service the Loan.
passed to Defendant, 7° See EXHIBIT “1” 17 “MBS not backed by mortgages”

43. Defendant owes a duty of reasonable care to Plaintiff to strictly comply
with Georgia statutes pertaining tononjudicial foreclosure.

44, Defendant breached that duty by attempting to foreclose without

holding a beneficial interest in the Note or Security Deed. 24

 

23 If you have record title to a mortgage but cannot show that you have possession of and/or entitlement
to enforce the promissory notes that the mortgage secures, you lose. This is true for 62 million securitized
loans.: More and more courts are agreeing that the banks “inside” the PSA do not have legal standing
(they have no skin in the gamé and so cannot show the necessary “injury in fact”), are not “real parties in
interest” (they cannot show that they followed the terms of the PSA or are otherwise “entitled to enforce”
the note) and that there are real questions of whether any securitized mortgage can ever be properly
perfected, More and more courts are recognizing that, without proof of ownership of the underlying note,
holding a mortgage means nothing, http://butlerlibertylaw.com/foreclosure-fraud/

24 Only the documented lender/holder of the note can foreclose on said property, OCGA-44~14-162-2
requires that the current holder of the mortgage loan record the assignment of the security deed, which
shows the present owner of the mortgage loan, in the public record of the clerk of superior court of the
county in which the real property is located before conducting the foreclosure sale. The designated entity
authorized to negotiate and modify is NOT noted. This is in violation of OCGA § 44-14-162.2. Both

_ the National and Georgia Uniform Commercial Code in 11-201(2) provide aggrieved parties are entitled -

Pape 14

 
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45, Such breach caused damages to Plaintiff in the form of pecuniary loss

~w

and mental anguish.

46, Defendant previously scheduled non-judicial foreclosures wrongfully and

unlawfully of the described property of the Plaintiff without, obtaining the
__..- Original-Promisséry-Note-and-verifying the existence-of said Note-and-without. ,

proving standing three times.

47, And now the Defendant has unlawfully scheduled the fourth sale again

without proving standing for May 5, 2015. The question to ask is why did

they not go through with these scheduled sales? Answer? Because the sales

were postponed because they were wrongfully and unlawfully scheduled and

for the purpose of augmenting the administrative and legal fees.

48. THIS IS BECAUSE Defendant in bad faith has manipulated the

debt 1 scheduling and canceling a nonjudicial foreclosure multiple times for

the purpose of augmenting the administrative and legal fees. Now Defendant’s.

bad faith now prevents Plaintiff from knowing the true principal balance on the

[Loan] and further prevents Plaintiff from obtaining a refinancing or proper

payoff. Accordingly, judicial intervention is needed to determine the true -.

[Loan] balance.

«49. This is a tort and a violation of PlaintifP s rights

to resort to a remedy. The Georgia Code in 11-1-201 (34) ““Remedy’ means any remedial right to which
an aggrieved party is entitled with or without resort fo a tribunal.” .

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COUNT I - ATTEMPTED: WRONGFUL FORECLOSURE IL
| ( STATUTORY COMPLIANCE) |
50, Plaintiff incorporates all preceding paragraphs herein.
—- 5 L-Defendant-does-not-possess-the ability foniegotiate-andlexmedity the
_ terms of the Loan’ due to the limitations set forth in the PSA,
52. Defendant owed a duty to Plaintiff to strictly comply with Georgia
statutes pertaining to nonjudicial foreclosure. 7° |
53, Defendant breached that duty by attempting to foreclose but failing to
notify Plaintiff of the entity with full authority to negotiate or modify the terms
of the Loan.

54. Such breach caused damages to Plaintiff in the form of pecuniary loss

and mental anguish.

_ COUNT IV- DECLARATORY JUDGMENT (CREDIT DEFAULT SWAP)

 

25 A “holder is defined as a person who is in possession of a document of title or an instrument..,”
O.C.G.A. 11-1-201(20), A holder takes an instrument for value “to the extent that the agreed
considerations have been performed or that he acquires a security interest in or a lien on the instrument
otherwise than by legal process...” 0.C.G.A. 11-3-303(a). Pursuant to O.C.G.A. 1 1-3-302. A holder must
also take the instrument in good faith. O.C.G.A. 11-3-302(1)(b), Good faith is defined as “honesty in fact
in the conduct or transaction concerned,” 0.C.G.A. 11-1-201(19). To constitute’bad faith, a purchaser
must have acquired the instrument “with actual knowledge of its infirmity or with a belief based on the
facts or circumstances as know to the purchaser that there was a defense or the purchaser must have acted
dishonestly.” Citizens & Southern Nat'l Bank v. Johnson, 214 Ga, 229, 231, 104 S.E.2d 123, 126

- (1958).

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55. Plaintiff incorporates all preceding paragraphs herein. _
56, The Loan was insured by a credit default swap agreement (the “CDSA”),

which resulted in payout of the Loan’s outstanding balance upon Plaintiff's

default. 76

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worth well over 4 million dollars, Furtherniore, anytime a homeowner defaulted on
payments complicated insurance plans were activated and Allowed the banks to cash
in. Every mortgage was paid whether the homeowner made a payment or not, It was
brilliant, Why do you think banks gave anybody with a pulse a loan-in the early 2000's?
They made money either way. Up or down, foreclosure or no foreclosure, banks won at
America’s expense, The mortgage notes were just a piece of paper to be toyed with. _
http://redpillreports.com/red-pill-reports/illegal-mortgage-securitization-did-banks-
gamble-your-home-distort-chain-of-title/ .

By-derivatives.and insurance.and securitization.a.$ 100,000.00-home.mortgage.could-be.. ... ..

57. The relationship between Plaintiff and their lender is a contractual
relationship, governed by the Note and Security Deed.
58. The true owner of the Loan was madé whole by the CDSA, and

conséquently, suffered no loss or harm by Plaintiff's purported default. 27

 

26 A credit default swap is a type of contract that offers a guarantee against the non-payment of a loan, In
this agreement, the seller of the swap will pay the buyer in the case of a credit event (default) by a third-
party. If no default, occurs, the seller of the swap will have collected a premium from the buyer.

27 The Treasury continues to pay AIG claims 100-cents on the dollar on mortgage defaults (loans).
Owners:of the loans (banks) who bought CDS insurance have been made whole for any loss resulting
froni non-payment. But homeowners are still obligated to pay their mortgages (in arrears) even though
these non-payments have effectively been paid for, month-after-month, by US taxpayers. So, the banks
stand to earn double — should defaulting homeowners become current with their debt and if they
don’t, they can foreclose and effectively make a windfall. Every dollar the taxpayer paid to keep
mortgages current should reduce the obligation. If the taxpayer was there to help, the help should go to
the distressed homeowner not the banker who has mitigated his risk.

http:/Avww.economicshelp.org/blog/933/finance/credit-default-swaps-explained/

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59. The Security Deed contains provision for certain self-help remedies
upon borrowers’ default(s), including nonjudicial foreclosure (ihe “Waiver of
Borrower’s Rights”).
60, Further, the Waiver of Borrower’s Rights is void as against public policy
and: anenforceable- at-law-because. it-provides-for-a- -self-help. remedy. in-the— re
absence of loss on harm to grantee and/or its assignee(s). ,
61. Plaintiff is entitled to, and hereby demands, declaratory judgment that

Defendant is not entitled to the self-help remedy of nonjudicial foreclosure.

62.Such breach(es) caused damages to Plaintiff in the form of pecuniary loss

and mental anguish.

COUNT V - UNFAIR AND/OR DECEPTIVE BUSINESS PRACTICES
63. Plaintiff incorporates all preceding paragraphs as if set forth fully herein.
64. Defendant engaged in unfair and/or deceptive business practices under

the Georgia Fair Business Practices Act of 1975 by engaging in dual track.

foreclosure and charging the False Servicer Fees.
65. Such breach(es) caused damages to Plaintiff in the form of pecuniary

loss arid mental anguish.

- COUNT VI - FRAUD AND/oR ATTEMPTED FRAUD*

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66. Plaintiff incorporates all preceding paragraphs as if set forth fully herein.
67. Defendant misrepresented the true balance of the Loan and their true

status as servicer and/or true creditor of the Loan, with knowledge or reckless

disregard of the statements’ falsity, in each of the Monthly Statements, Notices

—_— of Default;P ayoffLetter-and-Notice(s)-ofForeelo sures"Phis is FRAUD 22 ce neve the

68. Plaintiff relied on such representations by continuing to deal with |

Defendant as their lender, including directing their Loan payments and

modification application(s). See EXHIBIT “1” 94 “fraud, intentional and~

massive” | |

* For more clarification and true facts about Foreclosure Fraud please go to
the following link and read the article “F oreclosure Fraud in a Nutshell” by
Butler Liberty Lawfirm. http .//butlerlibertylaw:com/foreclosure-fraud/

69, Such breach(es) caused damages to Plaintiff in the form of pecuniary

Joss and mental anguish. we

COUNT VIL_- UNJUST ENRICHMENT
70. Plaintiff incorporates all preceding paragraphs as if set forth fully herein.

71. Defendant’s collection of the False Servicer Fees constitutes unjust

enrichment. - ” . :

 

28 37 Am Jur 2d at section 8 states, in part: "Fraud vitiates every transaction and all contracts. Indeed,
the principle is often stated, in broad and sweeping language, that fraud destroys the validity of everything
into which it enters, and that it vitiates the most solemn contracts, documents, and even judgments."

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72. Plaintiff is entitled to, and hereby demands, restitution for same.

COUNT VIM - UNCONSCIONABILITY
| 73, Plaintiff incorporates all preceding paragraphs as if set forth fully herein.
74,-Defendant’s-acts-and.omissions-constitute.unconscionable-conduct.and—.. vee

the terms of the Loan constitute unconscionable terms of a contract.

COUNT IX - REASONABLE ATTORNEYS’ FEES AND EXPENSES
75, Plaintiff incorporates all preceding paragraphs as if set forth fully herein.
76, Defendant’s acts and omissions were in bad faith, have been stubbornly

litigious, or have caused Plaintiff unnecessary trouble and expense that entitle
Plaintiff to recovery of reasonable attorneys' fees and litigation expenses

pursuant to O.C.G.A. § 13-6-11.

JURY DEMAND

Plaintiff hereby demands a trial by jury of twelve on all issues so triable.

PRAYER FOR RELIEF
‘WHEREFORE, Plaintiff prays that this Court will direct the Defendant to

produce the following:

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a) Accounting of all charges on, against or towards the loan, including all

credits, debits, and set offs.

 

b) Productions of IRS Form 1066 along with all the Schedules and
| Appendixes-including “J” and “Q”. Since Plaintiff's note was

“assigned” to a REMIC Trust [See paragraph #9] 29

c)—A-copy-of the “Bailee- Letter? #2 ——-- vo a eee tenn nt ci

WHEREFORE, Plaintiff prays that this Court enter judgment in favor of Plaintiff
and against Defendant for:

d) Prelitigation discovery ordering Defendant to disclose and tun over any
and all servicing apreements, master servicing agreements, loss-share
agreements, pooling agreements, and any other collateral source
identifying Defendant’s receipt of remuneration in servicing
Plaintiffs loan. .

e) Prelitigation discovery: ordering Defendant to disclose and turn over any
and all servicing aereements, master servicing agreements, loss-share

agreements, pooling agreements, and any other instruments

establishing any and all interest of third-parties in Plaintiff's loan.

4

 

29 TRS Form 1066. This form and filing will show that the “Trust” never got Plaintiff's DOT/MTG/Note
or if they did, they paid 100% tax on it.

30 This is a letter that a “custodian” or “bailee” or “agent” must draft to accompany any transfer. OF

course it never happened, so they cannot produce it
FORM OF BAILEE LETTER [Warehouse Bank) -~ Fannie Mae .
www-fanniemae.com/mf/ouidesforins/doc/forms/e_xi... FORM OF BADLEE LETTER, (WAREHOUSE

BANK) (MBS/DUS) Federal National Mortgage ‘Association {insert address for Fannie Mae as specified.
in Part IV, Section 301 of the DUS ... http://www.warehouseline.com/requirements.cfm .

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f) Declaratory judgment that Defendant is NOT entitled to the self-help
remedy of nonjudicial’foreclosure of the Property;
g) Injunctive relief permanently enjoining Defendant from foreclosing or

otherwise dispossessing Plaintiff of the Property or further collection

activity until Defendant discloses and shows cause establishing the

 

true.and_accurate balance on Plaintiff's loan account;

h) Compensatory damages for recovery and reimbursement of damages in
ah amount to be determined by the enlightened conscience of the jury,

as to be further determined by Deféndant’s prelitigation discovery

disclosures; and

i) ‘Any and all further relief as this Court may deem just and appropriate.

Respectfully submitted, this 24th Day of April 2015.

WO. —

Janet Hill,

Sui Juris in Propria Persona
543 Auburn Avenue NE ~
Atlanta, GA 30312
404-861-6036

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VERIFICATION

 

STATE OF GEORGIA )
. 8s
COUNTY.OF FULTON ) dees meee ene

|, Janet Hill, proceeding in Sui Juris in Propria Persona and under penalty of perjury state the
following: I am over the age of 21 and competent to testify in all matters concerning the
foregoing Complaint; I have prepared and read the foregoing Complaint, the pleadings and
defenses set forth herein, which comes from my first-hand knowledge, information and belief,
formed after reasonable enquiry, believes that they are well grounded in fact and warranted by
existing law or a good faith argument tor the extension, modification or reversal of existing law,
and that they are not interposed for any improper purpose such as or needlessly increase the cost
of litigation. All of the statements are true and correct. Everything I have stated is true to the
best ofmy knowledge and belie

aN Ss Wy
a

Snot

543 Auburn Avenue NE

Atlanta, GA 30312

Sworn to and Subscribed Before Me

in
This 9.4 day of April, 2015

a , . F
' , " Notary Putts, Dalat ‘os, ‘ :
SN VV/. — Neon ne ate Pye yp Ae
a : ’ 4 = . ’

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NOTARY PUBLIC, State of Georgia

EXHIBIT “1”

Time to Audit the REMIC Trusts -

By L. Randall Wray _-

1. When we peel back the layers of the real estate “onion” what we find is layer after layer of
fraud. From the mortgage brokers to the appraisers and lenders, from the securitizers to the
ratings agencies and accountants, from the trustees to the servicers, and from MERS (Mortgage
Electronic Registry System) through to the foreclosures, what we find is a massive criminal
couspiracy—probably the worst in human history. ‘

" 2. There can be little doubt that a home is important to maintenance of a middle class living
standard today for most Americans, There is almost no calamity worse than loss of one’s home.
It is the main asset that most Americans hold—essential to the educational success of one's
children, and to a comfortable retirement of our citizens. Americans typically borrow against,
their home equity to put their kids through college, to ease the financial distress caused by *
unexpected health care expenses, and to finance other large expenditures. The accumulated
equity in the home is the only significant source of wealth for the vast majority of.
Americans, The home-is necessary to one's continuing connection to the neighborhood, school
district, and network of friends. Theft of one's house today is certainly equivalent to theft of a

horse 150 years ago.

3. And, yet, we ate not hanging the thieves who are stealing millions of homes from Americans.
The thievery today is orders of magnitude greater than the horse thievery of the distant past.
Today's foreclosure thieves have stolen more property of citizens than all previous thieves
combined since the founding of our nation. The only thing that could trump it would be the theft
of property and livelihood from our Native Americans. T o be sure, we have evolved as a nation,
and I would not advocate hanging those responsible. But without question they ought to be
incarcerated in prison, with long terms and with confiscatory monetary penalties—perhaps 10
years for anyone who helps to improperly foreclose on a homeowner's property, and $10
million for each case of fraudulent foreclosure. That would provide the proper incentive as .
well as the proper monetary reward that will be required to get good lawyers to take cases of
homeowners who are being illegally thrown out of their homes every minute of every day.

4, The réal estate finance sector is trying to pin the blame on some sloppy paperwork and
overburdened-workers. They promise to put things right, hiring more-workers to work diligently
to dot those eyes and cross those tees. In reality it was all fraud, intentional and massive.

, Home theft was the business model, That is what the Bush administration meant when it .
pushed the “ownership society”—a society in which the top ténth of one percent would own

everything,

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5. First, they changed bankruptcy laws so that a first mortgage on one's principal residence is the
only debt a judge cannot reduce. This was to ensure that when the wave of foreclosures began,

_ those who lost their homes to the true ownership class would still have to pay off the mortgage.
6. Next, they created “affordability” products—such as the neutron bomb hybrid adjustable rate
mortgages hawked by Chairman Greenspan--that weré designed to blow up the borrowers while
leaving the-real estate intact, Then they created derivatives—the so-called mortgage backed
securities--sold to investors. Toxic waste derivatives were then re-packaged into even more
trashy collateralized debt obligations that were sold to bank customers, with banks buying credit
default swap “insurance” to place bets against their own customers. :

ae ent mt nk epee

 

7. The banks then farmed out mortgage servicing to their own subsidiaries, “misplacimmg”
payments that ought to have gone to the securities holders. This was in order to claim
‘porrowers were delinquent so that the servicers could squeeze late fees and default fees and
extra interest out of them. Investors in the securities would be last in line, with the servicers
maximizing their own incomes and protecting the interests of their mother banks (which often
had second liens on the properties in the form of home equity loans). This is why the servicers
make it so difficult to niodify the loans—which is in the interests of the borrowers and the
investors, but against the interest of the banks with second liens. And they created MERS to
operate as a foreclosure steam roller, which outsourced the foreclosures back to the servicers
with deputized “vice presidents” pretending to be officers of MERS in order te scam the

courts. .

8. We now know that the “mortgage backed” securities were not backed by mortgages. In
reality they are unsecured debt, The “pooling and servicing agreements” (PSAs) that
govern securitization require that the mortgage documents (including the wet ink notes as
well as a clean chain of title) are transferred in a timely manner to the trustees, This was
rarely and perhaps never done, because it was counter to the recommendation made by
MERS (Mortgage Electronic Registry System). Instead, notes were either destroyed or held
by the servicers to speed the foreclosures that were always envisioned as the end result of
the mortgage origination process. Not only does this practice render the securities
fraudulent but it also violates the federal tax laws that govern the REMICs—meaning back

taxes are due.

9. But worse than all that, by breaking the chain of title and by destruction of documents, MERS
and the servicers have jeopardized the entire system of property rights. Most, perhaps all,
foreclosures have been fraudulent, which means that re-sales of the homes are also frauds.
It goes without saying that the original mortgages were frauds from the very beginning—to
complete the transformation to the ownership society it was necessary to ensure that by.
construction, default was inevitable, Either the homeowner would be unable to pay, or the

’ servicer would “lose” thé payments. By obscuring the chain of title, it would be impossible for
the debtors or the courts to sort things out. Separating home owners from their property was
necessary to enstre that we can create Bush's ownership society. It is the modern form of the
feudal foreclosures and seizures of peasant lands that concentrated ownership in the hands of

agricultural capitalists—creating the first ownership society.

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10. The scale of the problem is huge. Some estimate that as many as $6.4 trillion worth of
home mortgages (33 million of them) are frauds, with destroyed or doctored documents.
Probably all of the $1.4 trillion worth of private label residential mortgage “backed” securities
violate the PSAs—so are actually unsecured debt. Three state supreme courts have already ruled
that MERS cannot be the owner of mortgages, hence, has no standing in foreclosures. MERS
contaminated 65 million mortgages—decoupling the mortgages from the notes and
destroying the chain of tifle. A consortium of investors Gncluding PIMCO, Black Rock, and
Fannie and Freddie) that owns $600 billion of the private label securities are suing the banks to
take them back. One investor action alone against Bank of America concerns $47 billion in
fraudulent mortgages—enough to put a serious dent in its purported net worth of $230 billion

 

(whichis probably a vast overstatement resulting trom cooking te Books). A suitin Calitomia
seeks $60-$120 billion in lost recording fees alone. All 50 states are investigating the servicers
for fraud, The top five servicers (Bank of America, Wells Fargo, JPMorgan Chase, Citigroup,
GMAC-Ally) have 60% of the business and include the top four banks that account for 40% of

the banking business.

11. It is time to push the reset button. All foreclosures should be stopped immediately. The
REMIC trustees should be audited to see if they have properly followed the requirements of the
PSAs and laws applying to REMICs. If they do not have the notes, the securities should be pitt
back to the banks, If the banks cannot absorb the losses, they must be closedand resolved, The
FDIC in turn will end up with the mortgage backed securities and underlying mortgages.
Working with Freddie and Fannie, all of these should be modified, into new fixed rate
mortgages—with a “clawback” to reset principle to current market value of the homes, and with
new notes, Investors are going to take losses so there will be fall-out that government will have
to address. There will be hundreds of billions of dollars of losses. Congress must find a way to
mitigate effects on the economy as well as on investors in MBSs and other assets related to real

- estate. This is a big problem, but it is not insurmountable.

12. Every top management official of all the biggest dozen banks, plus everyone at MERS, all
officers of every servicer, rater, appraiser, accounting firm, and mortgage broker ought.to be
investigated for fraud. In the aftermath of the thrift crisis, 1852 bank insiders were prosecuted
and 1072 were jailed. .So far in this much bigger orisis there have been only 50 criminal probes

and 80 civil lawsuits authorized by FDIC. It is time to get serious about the home
thieves. |

http://www.benzinga.com/life/politics/10/12/72990 8/time-to-audit-the-remiic-
trusts#ixzz3 9F gn NDE

Pape 26

 
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IN THE SUPERIOR COURT OF FULTON COUNTY

STATE OF GEORGIA

Civil Action No. :2015CV260050
JANET HILL,
Plaintiff, VOLUNTARY DISMISSAL
VS.
BAYVIEW LOAN SERVICING,
Defendants.

 

 

 

VOLUNTARY DISMISSAL ~
COMES NOW Janet Hill herein, (“Plaintiff), and respectfully requests
discontinuance of the above-entitled action for a voluntary dismissal of the
complaint without prejudice. Ms. Hill conferred with the counsel for Bayview on
the dismissal, June 19, 2015 (Jerrod S. Mendel with McGuire Woods, LLP). Asa
result, Bayview's counsels have agreed not to oppose Plaintiffs Voluntary Motion to
Dismiss without prejudice. Wherefore, this court is asked to dismiss this action,
instanter.
Respectfully submitted, this day June 19, 2015. ,

Janet Hill
Pro Se

548 Auburn Avenue
Atlanta,GA 30812 \
we Wo A

JANET HILL ~ 8 .

 

 

 
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CERTIFICATE OF SERVICE

I, the undersigned, HEREBY CERTIFY that a true and correct copy of the above and the foregoing
attachment, Voluntary Dismissal has been furnished by U.S. Mail to:

Jerrod S. Mendel

McGuire Woods, LLP

1230 Peachtree Street, N.E.

Suite 210

Atlanta, GA 30309

(4040) 443-5724

Attorney for Bayview Loan Servicing

Kyle S. Kotake

Brock & Scott, PPL

4360 Chamblee Dunwoody Rd, Suite 310
Atlanta, GA 30341

(404) 789-2661 Ext. 2306

Submitted on this 19" day of June 2015

Janet Hill

543 Auburn Ave. N.E.,
Atlanta, Georgia 30312
Pro Se

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